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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO

 IN RE:                                                CASE NO. 20-cv-01344 (ADC)

 CONDADO 5, LLC

          Appellant                                    APPEAL FROM THE U.S. BANKRUPTCY
                                                       COURT FOR THE DISTRICT OF
                                                       PUERTO RICO
             vs.

 VAQUERÍA LAS MARTAS, INC.

          Appellee

             MOTION FOR EXTENSION OF TIME TO FILE APPELLANT’S BRIEF
                           PURSUANT TO PR L. Civ. R. 6

TO THE HONORABLE COURT:

       COMES NOW, appellant Condado 5, LLC (“Condado” or “Appellant”), through the

undersigned counsel, and respectfully states and prays as follows:

       1.      On July 13, 2020, Condado filed a Notice of Appeal (the “Notice”, Bankr. Case No.

18-07304, Docket No. 149).

       2.      On July 16, 2020, this Court entered the Transmittal of Notice of Appeal from

Bankruptcy Court (the “Transmittal Notice”, Docket No. 1).

       3.      On August 13, 2020, this Court entered the Certification for Transmittal, setting the

deadline to file the Appellant’s brief for tomorrow, August 28, 2020 (Docket No. 7).

       4.      Appellant is still in the process of preparing the brief but due to current

circumstances needs additional to finish and file it along with the corresponding appendix.

Appellant respectfully requests fourteen (14) days from tomorrow, through and including

September 11, 2020, to finish and file the brief along with the appendix pursuant to PR L. Civ. R.

6.

       WHEREFORE, Appellant respectfully prays the Court to grant fourteen (14) days from

tomorrow, through and including September 11, 2020, to finish and file the brief along with the
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corresponding appendix pursuant to PR L. Civ. R. 6, and grant any other remedy that is fair and

equitable.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, on this 27th day of August, 2020.

                                       Certificate of Service
I hereby certify on this same date, I electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system, which will send notification of such filing to all CM/ECF participants in
this case. Motions and orders processed through CM/ECF are “presumed to be served on the
same date of the electronic filing”. P.R. Elec. Power Auth. v. Vitol, Inc., 298 F.R.D. 23, 26
(D.P.R.2014).




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